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                                                                 United States Bankruptcy Court
                                                                     Southern District of Florida
     In re    Consumer Advocacy Center Inc.                                                            Case No.   19-10655-JKO
                                                                                 Debtor(s)             Chapter    11


                       DEBTOR'S NOTICE OF COMPLIANCE WITH REQUIREMENTS FOR AMENDING
                                            CREDITOR INFORMATION
 This notice is being filed in accordance with Local Rules 1007-2(B), 1009-1(D), or 1019-1(B) upon the filing of an amendment to the
 debtor's lists, schedules or statements, pursuant to Bankruptcy Rules 1007, 1009, 1019 or 5010-1(B). I certify that:

 [X]          The paper filed adds creditor(s) as reflected on the attached list (include name and address of each creditor being added). I
              have:
              1. remitted the required fee (unless the paper is a Bankruptcy Rule 1019(5) report);
              2. provided the court with a supplemental matrix of only the added creditors on a CD or memory stick in electronic text
                  format (ASCII or MS-DOS text), or electronically uploaded the added creditors in CM/ECF;
              3. provided notice to affected parties, including service of a copy of this notice and a copy of the §341 or post conversion
                  meeting notice [see Local Rule 1009-1(D)(2)] and filed a certificate of service in compliance with the court [see Local
                  Rule 2002-1(F)]; and
              4. filed an amended schedule(s) and summary of schedules; and
              5. filed a motion to reopen accompanied by the required filing fee (if adding creditors pursuant to Local Rule 5010-1(B))

 [   ]        The paper filed deletes a creditor(s) as reflected on the attached list (include name and address of each creditor being
              deleted). I have:
              1. remitted the required fee;
              2. provided notice to affected parties and filed a certificate of service in compliance with the court [see Local Rule 2002-1
              (F)]; and
              3. filed an amended schedule(s) and summary of schedules.

 [   ]
              The paper filed corrects the name and/or address of a creditor(s) as reflected on the attached list. I have:
              1. provided notice to affected parties, including service of a copy of this notice and a copy of the §341 or post conversion
                  meeting notice [see Local Rule 1009-1(D)(2)] and filed a certificate of service in compliance with the court [see Local
                  Rule 2002-1 (F)]; and
              2. filed an amended schedule(s) or other paper.

[    ]
              The paper filed corrects schedule D or E/F amount(s) or classification(s). I have:
              1. remitted the required fee;
              2. provided notice to affected parties and filed a certificate of service in compliance with the court [see Local Rule 2002-1
                  (F)]; and
              3. filed an amended schedule(s) and summary of schedules.

              None of the above apply. The paper filed does not require an additional fee, a supplemental matrix, or notice to affected
              parties. It WI does  does not require the filing of an amended schedule and summary of schedules.
                                      ❑




I also certify that, if filing amended schedules, Bankruptcy Form 106 "Declaration About an Individual Debtor's Schedules" (signed
by both debtors) or Bankruptcy Form 202 , "Declaration Under Penalty of Perjury for Non-Individual Debtors" has been filed as
required by Local Rules 1007-2(B), 1009-1(A)(2) and (D)(1), or 1019-1(B).




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  Dated:       April 23, 2019



  Attorney for Debtor (or Debtor, if pro se)                                    Alb Kim
                                                                                Debt or

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Additional Creditor


Guaranteed Rate, Inc.
Attn: Scott Ubersox
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Chicago, IL 60613
